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IN THE UNITED STATES DISTRICT COURT
FOR 'I`HE DISTRICT OF DELAWARE

CITRIX SYSTEMS, INC.,
Plaintiff,
v.
WORKSPOT, INC.,

Defendant.

C.A. NO. 18~588-LPS

JURY TRIAL DE'MANDED

PUBLIC VERSION

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DEFENDANT’S RULE 72 OBJECTIONS TO MEMORANDUM ORDER [D.I. 1971

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Pursuant to Fed. R. Civ. P. 72(a), Defendant Workspot, Inc. raises the following
objections to Magistrate Judge Sherry R. Fallon’s Memorandum Order dated March 28, 2019
[D.I. 197], (hereinafter, the “Order”).

I. The Order’s Application of the Crime Fraud Exception is Contrary to LaW

The Order’s determination that the crime-fraud exception (“CFE”) applies to Priv. Log.
Doc. Nos. 15, 62, 104, 120, 125, 232, 255, 256, 260, 263, 269, and 312 (hereinafter the “CFE
Emails”) should be reversed as “contrary to law” under Rule 72. D.I. 197, 1111 30, 35 . The Order
correctly notes the alleged crime or fraud in this case is the alleged false statements l\/lr. Chawla
made in his October 30, 2018 declaration. D.I. 197, 11 31.l However, (i) eight of the 12 CFE
emails do not discuss or even contemplate a declaration; and (ii) the four remaining CFE emails,
While discussing the declaration, are not communications “in furtherance” of the alleged crime or
fraud, as required for the CFE to apply.

The narrow crime-fraud exception applies only where there is “[l] a reasonable basis to
suspect that the privilege holder was committing or intending to commit a crime or fraud and that
121 the attorney-client communications or attorney Work product were used in furtherance of the
alleged crime or fraud.” 111 re Grand Jw'y, 705 F.3d 133, 153 (3d Cir. 2012); Order, 11 34. In
applying the “in furtherance” prong, the Third Circuit (in a case relied on by Citrix) expressly
“reject[s] a more relaxed ‘related to’ standard.” D.I. 188, p. 2; In re Grand Jurjy Subpoena, 745
F.3d 681, 692-693 (3d Cir. 2014) (emphasis added). Instead, the Third Circuit requires that:

the advice must advance, or the client must intend the advice to advance, the client’s
criminal or fraudulent purpose. The advice cannot merely relate to the crime or fraud.

 

1 Workspot’s Board terminated Mr. Chawla on December 26, 2018, Shortly after Citrix permitted
the Board to review Citrix’s sealed filings concerning the email incident. D.I. 143.

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Id. In other words, “the legal advice must give direction for the commission of future fraud or
crime.” Id. at 692 (citations omitted).

In view of the Third Circuit precedent discussed above, the Order should have applied the
“in furtherance” standard for the second CFE prong, but it did not. lnstead, the Grder expressly
applies the “relate[s] to” standard the Third Circuit rejects. D.I. 197, 11 35. (“these
communications relate to the subsequent filing of the allegedly false Chawla declaration”)
(emphasis added); In re Grand Jury Subpoena, 745 F.3d at 692-693 (“The advice cannot merely
relate to the crime or fraud”). l

A. Eight of the CFE Emails Do Not Contemplate a Declaration

An 171-camera review of eight of the 12 CFE emails ~ namely Doc. Nos. 62, 120, 125,
232, 260, 263, 269, 3122 - will confirm that the Order’s election to use the rejected “relates to”
standard was material to the ultimate findings These eight CFE emails do not even mention or
contemplate a declaration, let alone “advance” or “further[]” the declaration’s alleged crime or
fraud of perjury. Id. at 692-693. For example, and without waiver, Doc. No. 62 concerns
Workspot and counsel discussing third party subpoenas Doc. Nos. 125 and 260 concern
investigating allegations and scheduling a conference call. Doc. No. 232 concerns responding to
Citrix’s TRO, unrelated to the declaration Doc. No. 269 includes an October 16 email exchange
on investigating allegations with an additional communication sent three days after the October
30, 2018 declaration Doc. Nos. 263, 312, and 120 (forwarding an October 16 email) reflect
communications exchanged within a day of Workspot first learning of the email incidenton

October 15 ~ well before discussions of a declaration began. All told, none of these emails can

 

2 As it did for the Magistrate, Workspot will deliver to the Court copies of each of the 25
privilege log entries Citrix identified for in camera review.

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be found to “advance” the alleged crime or fraud -- as required for the “in furtherance” standard -
- because they address subjects separate and apart from the declaration In re Grand Jwy
Subpoena, 745 F.3d at 692-693; In re Grand fury Matter, 847 F.3d 157, 165 (3d Cir. 2017).

Further, there is no indication Mr. Chawla was “committing or intending to commit” the
alleged crime or fraud “at the time” of these communication, many of which were exchanged 14
days before the declaration was filed. In re G)"and Jury Subpoena, 745 F.3d at 691-692 (the
exception “does not apply where the client forms the intent to engage in criminal or fraudulent
activity after theconsultation”) (emphasis added). Further, the November 2 communication of
Doc. No. 269, authored a_ft€_:r October 30, could not possibly further the alleged crime or fraud
committed previously because the “crime fraud exception only applies to communications which
occur before or during the crime.” Magnetar Techs. Corp. v. Six Flags Theme Park Inc., 886 F.
Supp. 2d 466, 488 (D. Del. 2012) (emphasis added).

B. The Remaining Four CFE Emails Were Not in Furtherance” of the Alleged
Crime or Fraud

Next, while the four remaining CFE emails _ Doc. Nos. 15, 104, 255 and 256 - address
the Chawla declaration, they were not “in furtherance” of the alleged crime or fraud, i.e. perjury,
under Third Circuit precedent The difference in facts between the Third Circuit’s 111 re Grand
Ju)jy decision 745 F.3d at 692-693 (relied on by Citrix) and the present case is instructive D.I.
188, p. 2. In re G)'and Jury concerned a client improperly using legal advice to avoid detection of
a violation of the Foreign Corrupt Practices Act (“FCPA”) in making allegedly corrupt payments
to an official of a foreign government-owned bank. Id. at 693. ln deciding how to proceed, the
client consulted an attorney who asked about the bank and bank official’s connection to a foreign

government, thereby facilitating the client’s decision to “rout[e] the payment through Banker’S

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sister, who was not connected to the Bank, in order to avoid the reaches of the FCPA or detection
of the violation.” Ia'.

The Fifth Circuit’s decision fn re Grand Jury Subpoena, 419 F.3d 329 (5th Cir. 2005) -
also relied on by Citrix (D.l. 194, p. l) - concerned a false affidavit a witness submitted to
protect her boyfriend, the client, from a firearms charge. The communications “in furtherance” of
the alleged crime or fraud (perjury) were attorney consultations “about the penalty for
committing perjury and of the potential sentence [the client] could receive if he were convicted
of the firearm charge.” Ia’. at 333. In other words, the client and witness misused the legal advice
concerning perjury penalties in deciding to have his girlfriend proceed with a false affidavit Id.
at 337 (“Appellant and _Witness used Former Counsel to obtain legal advice which would assist
them in obstructing the criminal proceedings and perpetuating a fraud”).

In contrast, in this case, while Doc. Nos. 15, 104, 255 and 256 relate to the alleged crime
or fraud (i.e. alleged perjury), there is no indication Mr. Chawla sought or received legal advice
to advance his decision to proceed with alleged perjury, or that any legal advice received “g[ave]
direction for the commission” of perjury. In re Grana’ J'ury Subpoena, 745 F.3d at 692. lnstead,
the communications reflect, for example, l\/Ir. Chawla receiving a draft declaration and returning
it in the revised, executed form filed October 30, 2018. See e.g. Doc. Nos. 104, 256.

II. The Order’s Fee Award Was Clearly Erroneous

The fee award of $271,963 USD (representing 50% of a $543,927 USD total) is clearly
erroneous under Rule 72 and unreasonable Workspot raises two objections regarding the fee
award in particular.

600 Hours: The Grder found it reasonable for the DLA attorneys to spend 600 hours
under Seagate Technology (US) Hola’z`ngs, Inc. v. Syntellect, Inc. C.A. No. 12-1686-RGA, 2016

WL 5724774, at *5 (D. Del. Sept. 30, 2016) in large part because the 600 hours extended to

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multiple tasks including “not only preparing the TRO briefing, but also pursuing discovery and
investigating the source of the harassing emails and posts” D.I. 197, 11 54. However, this
determination overlooks that the 600 hours corresponds to DLA time only. D.l. 187, Ex. A, p. 1.
Time incurred on the investigation at Skadden Arps (18.4), Stroz (77.75) and Wilks Lukoff
(15.1) totaled 110.75 additional hours Id. Further, in Seagate, the Court found 600 hours
excessive and reduced the hours by 10% in the lodestar calculation Id. at *5. Therefore, the fee
award should be reduced because the number of hours spent on the briefing, discovery, and
investigation was excessive

Hourly Rate: While the Order reduced the Skadden firm’s rates by 10% from $1,140.00
to $940.00 “in line with other New York counsel of record,” circumstances and case law dictate
that the Magistrate should have done the same for the DLA attorneys as well. D.I. 197, 11 57. For
example, the associate rates were $735/hr, $650/hr and $620/hr, significantly higher than the
3500/hr and lower based on level of skill used as the associate lodestar rate in Princeton Digz'tal
Image Col'poration v. Nordstrom.com LLC, et al. (C.A. No. l3-408-LPS, D.I. 189, Ex. A).
Similarly, the partner rates of $950/hr - $760/hr rates are significantly higher than the $595/hr

and lower rates used as the partner lodestar rate in Princeton. Id.

III- Referen¢es w _
The Order Sfates _

_ and includes two additional references to a -

_ D.I. 197, 1111 21, 23, 24. These statements are clearly erroneous First, the N.D. Cal.

case is a miscellaneous civil proceeding to compel a civil subpoena to Mr. Chawla_

_ D.l. 191, Ex. A. Second, Citrix initiated this civil proceeding against

Mr. Chawla as an individual. Id. Except for appearing in the caption (relating to this underlying

D. Del. case), Workspot is not a party to this N.D. Cal. case seeking to compel the subpoena Id.

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Atto)'neysforDefendant Workspot, Inc.

